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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION




Inland Diamond Products Co.,

                Plaintiff,
v.                                               Case No. 2:17-cv-416-JRG

Hoya Optical Labs of America, Inc., d/b/a        JURY TRIAL DEMANDED
HOYA Vision Care, N.A.,

                Defendant.

     PLAINTIFF’S NOTICE OF MARKMAN HEARING PRESENTATION SLIDES

       COMES NOW Plaintiff, Inland Diamond Products Co., and hereby files its presentation

slides used during the March 26, 2018 Markman Hearing. Attached as Exhibit A are Plaintiff’s

slides used during the hearing.




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Dated: March 27, 2018                        Respectfully submitted,


                                      /s/ John M. Halan w/permission by Claire A.
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                                      Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by email

on this the 27th day of March, 2018.

                                                    /s/ Claire A. Henry




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